                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.308 Page 1 of 22



                                   1   JEFFREY A. SWEDO (SBN: 78361)
                                       GORDON & REES LLP
                                   2   4675 MacArthur Court, Suite 800
                                       Newport Beach, CA 92660
                                   3   Telephone: (949) 255-6950
                                       Facsimile: (949) 474-2060
                                   4
                                       Email: jswedo@gordonrees.com
                                   5
                                       Attorneys for Defendant
                                   6   SYMBOLIC INTERNATIONAL, INC.

                                   7

                                   8                            UNITED STATES DISTRICT COURT

                                   9                          SOUTHERN DISTRICT OF CALIFORNIA
                                  10

                                  11   RICHARD EDWARDS, dba EUROTRADING, )            CASE NO. 07CV1826-JMA
4675 MacArthur Court, Suite 800




                                                                         )
                                  12                  Plaintiff,         )            SYMBOLIC INTERNATIONAL, INC.’S
   Newport Beach, CA 92660




                                                                         )            MEMORANDUM OF POINTS AND
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                                  13        vs.                          )            AUTHORITIES IN OPPOSITION TO
                                                                         )            PLAINTIFF’S MOTION FOR
                                  14   SYMBOLIC INTERNATIONAL, INC.,     )            SUMMARY JUDGMENT
                                                                         )
                                  15                                     )            Date:         April 20, 2009
                                                                         )            Time:         10:00 a.m.
                                  16                          Defendant. )            Ctrm:         D
                                                                                      Judge:        Hon. Jan M. Adler
                                  17

                                  18
                                  19           Defendant SYMBOLIC INTERNATIONAL, INC. (“Symbolic” or “Defendant”) submits

                                  20   the following memorandum of points and authorities in opposition to the motion for summary

                                  21   judgment filed by plaintiff RICHARD EDWARDS, dba EUROTRADING (“Edwards” or

                                  22   “Plaintiff”).

                                  23

                                  24

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                                  28   ///
                                                                               1                              Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.309 Page 2 of 22



                                   1                                               TABLE OF CONTENTS

                                   2   I.     INTRODUCTION .........................................................................................................1
                                   3   II.    SUMMARY OF ARGUMENT .....................................................................................1
                                   4   III.   STATEMENT OF DISPUTED FACTS .......................................................................3
                                   5          A.        THE EXTENT OF THE PRELIMINARY NEGOTIATIONS
                                                        BETWEEN THE PARTIES. .............................................................................3
                                   6
                                              B.        TIME WAS OF THE ESSENCE IN THE CONTRACT. ................................5
                                   7
                                       IV.    LEGAL ARGUMENT ..................................................................................................6
                                   8
                                              A.        PLAINTIFF’S CLAIMS FOR RELIEF RELY ON THE
                                   9                    ERRONEOUS CONTENTION THAT THE LIQUIDATED
                                                        DAMAGES PROVISION IS UNENFORCEABLE. ........................................6
                                  10
                                              B.        PLAINTIFF MISINTERPRETS AND MISAPPLIES CIVIL CODE
                                  11                    1671, AND CITES INAPPLICABLE AUTHORITY. ......................................7
4675 MacArthur Court, Suite 800




                                  12
   Newport Beach, CA 92660




                                                        1.        Plaintiff’s Cited Cases Decided Prior to the 1978 Amendment
                                                                  of Civil Code Section 1671, as Well as “Consumer Cases”
      Gordon & Rees LLP




                                  13                              Decided Under the Amended Statute But Applying Subsection
                                                                  (d), Are Inapplicable. .............................................................................8
                                  14
                                              C.        A PROPER READING AND APPLICATION OF CIVIL CODE
                                  15                    §1671 INDICATES THAT PLAINTIFF CANNOT ESTABLISH
                                                        THAT THE LIQUIDATED DAMAGES PROVISION WAS
                                  16                    UNREASONABLE AT THE TIME OF THE CONTRACT. ..........................9
                                  17                    1.        Plaintiff Cannot Show That There Was “No Reasonable
                                                                  Relationship” Between the Liquidated Damages Figure and the
                                  18                              Actual Damages the Parties Could Have Anticipated Would
                                                                  Flow From Breach..................................................................................9
                                  19
                                                        2.        The “Reasonable Endeavor” Requirement Does Not Require
                                  20                              Actual, Explicit Negotiations Over the Amount of the
                                                                  Liquidated Damages Figure.................................................................11
                                  21
                                                        3.        Only Circumstances in Existence at the Time of Contracting
                                  22                              Should Be Considered in Assessing Reasonableness of a
                                                                  Liquidated Damages Provision. ...........................................................12
                                  23
                                                        4.        Time Was of the Essence in the Contract. ...........................................13
                                  24
                                              D.        THE BALANCE OF THE CASES CITED BY PLAINTIFF,
                                  25                    THOUGH APPLYING THE CORRECT TEST, ARE OTHERWISE
                                                        DISTINGUISHABLE OR SUPPORT SYMBOLIC’S CONTENTION
                                  26                    THAT THE LIQUIDATED DAMAGES PROVISION WAS
                                                        REASONABLE................................................................................................14
                                  27
                                       V.     CONCLUSION............................................................................................................17
                                  28
                                                                                               i                                            Case No. 07CV1826-JMA
                                               SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                              OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.310 Page 3 of 22



                                   1                                                TABLE OF AUTHORITIES

                                   2   Cases
                                       Allen v. Smith 94 Cal.App.4th 1270 (2002) ...............................................................................15
                                   3
                                       California Medical Ass’n, Inc. v. Aetna U.S. Healthcare of Calif. 94 Cal.App.4th 151(2001)......7
                                   4
                                       Donald v. Golden 1 Credit Union 839 F.Supp. 1394 (E.D. Cal. 1993).........................................9
                                   5
                                       ECM Converting Co. v. Corrigated Supplies Co. LLC, 2009 U.S. Dist. Lexis 12424.................16
                                   6
                                       Feary v. Aaron Burglar Alarm, Inc. 32 Cal.App.3d 553 (1973) ...................................................9
                                   7
                                       Greentree Financial Group, Inc. v. Execute Sports, Inc. 163 Cal.App.4th 495 (2008) ......... 15, 16
                                   8
                                       Henck v. Lake Hemet Water Co. (1937) 9 Cal.2d 136............................................................3, 13
                                   9
                                       Hong v. Somerset Associates, 161 Cal.App.3d 111 (1984).........................................................11
                                  10
                                       In re VEC Farms, LLC 395 B.R. 674 (Bkrtcy. N.D. Cal. 2008) ........................................... 11, 12
                                  11
4675 MacArthur Court, Suite 800




                                       Irwin v. Mascott 96 F.Supp.2d 968 (N.D. Cal. 1999);..................................................................9
                                  12
   Newport Beach, CA 92660
      Gordon & Rees LLP




                                       Marina Tenants Assn. v. Deauville Marina Dev. Co., 181 Cal.App.3d 122 (1986).......................7
                                  13
                                       Morris v. Redwood Empire Bancorp 128 Cal.App.4th 1305 (2005)...........................................15
                                  14
                                       Poseidon Development, Inc. v. Woodland Lane Estates, LLC 152 Cal.App.4th 1106 (2007)......14
                                  15
                                       Radisson Hotels Intern., Inc. v. Majestic Towers, Inc. 488 F.Supp.2d 953 (C.D. Cal. 2007) ......16
                                  16
                                       Ridgley v. Topa Thrift and Loan Ass’n 17 Cal.4th 970, 977 (1998)..............................................9
                                  17
                                       See Silva & Hill Const. Co v. Employers’ Mutual Liability Ins. Co. 19 Cal.App.3d 914 (1971). .7,
                                  18
                                  19      8
                                       Sybron Corp. v. Clark Hosp. Supply Corp. (1978) 76 Cal.App.3d 896.......................................16
                                  20
                                       United Sav. and Loan Ass’n of Calif. v. Reeder Development Corp. 57 Cal.App.3d 282 (1976)...9
                                  21
                                       Utility Consumers’ Action Network, Inc. v. AT&T Broadband of Southern Cal., Inc., 135
                                  22
                                          Cal.App.4th 1023 (2006)......................................................................................... 3, 9, 11, 12
                                  23
                                       Weber, Lipshie & Co. v. Christian 52 Cal.App.4th 645 (1997) ..............................................2, 12
                                  24

                                  25   Statutes

                                  26   Civil Code section 1671 ........................................................................... 2, 6, 7, 9, 11, 13, 14, 15

                                  27   Civil Code section 1675 ............................................................................................................15
                                  28   Commercial Code section 2718...................................................................................................6
                                                                                      ii                                                  Case No. 07CV1826-JMA
                                                   SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                                  OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.311 Page 4 of 22



                                   1   Other Authorities

                                   2   Rest. 2d Contracts § 242 .......................................................................................................3, 13

                                   3   Law Revision Commission Comments to Cal Civ. § 167 ............................................................8

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                                                                                                   iii                                          Case No. 07CV1826-JMA
                                                   SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                                  OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.312 Page 5 of 22



                                   1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                   2                                       I.       INTRODUCTION

                                   3          On July 11, 2007, Plaintiff and Symbolic entered into a one page written contract for the

                                   4   purchase and sale (“Contract”) of a rare, vintage, 1959 model year Ferrari 250GT California

                                   5   Spyder LWB (“subject Ferrari”). The Contract, drafted by Plaintiff and his English solicitor,

                                   6   provided that Plaintiff was to pay Symbolic a $300,000 non-refundable, liquidated damages

                                   7   deposit to secure the deal and pay the $2.8 million balance by a date certain. Plaintiff paid

                                   8   Symbolic the $300,000 deposit, but thereafter breached the Contract by failing to pay Symbolic

                                   9   the balance of the purchase price by the date certain set forth in the Contract. The Contract also
                                  10   provided as follows: “In the event that the Buyer fails to complete upon being given notice to

                                  11   complete then the Seller will retain the deposit by way of liquidated damages for breach of
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                                  12   contract.” In accordance with this provision, Symbolic retained the $300,000 deposit as
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                                  13   liquidated damages for Plaintiff’s breach.

                                  14          Despite the clear contract language drafted by Plaintiff himself with the assistance of his

                                  15   solicitor, and despite the fact that Plaintiff was the breaching party, Plaintiff now claims that he

                                  16   is entitled to the return of the $300,000 liquidated damages deposit due to events at two auctions

                                  17   which changed the market for this car six weeks after the contract was negotiated. However, the

                                  18   law is clear that liquidated damages are evaluated as of the time of contracting, and not with
                                  19   20:20 hindsight based on subsequent events.

                                  20                                II.     SUMMARY OF ARGUMENT

                                  21          Plaintiff’s motion for summary judgment not well-taken, and all factors weigh heavily in

                                  22   favor of the Court granting Symbolic’s concurrent motion for summary judgment. Plaintiff relies

                                  23   on sympathy based on unanticipated market change in Symbolic’s favor six weeks after the

                                  24   contract was executed. Plaintiff’s claims for relief each relies on his contention that the

                                  25   liquidated damages provision in question is invalid. California Civil Code section 1671 provides

                                  26   that contractual provisions liquidating damages for breach are presumptively valid unless the

                                  27   party seeking to invalidate the provision (i.e. Plaintiff) meets a substantial burden of showing the
                                  28   provision was unreasonable in light of the circumstances at the time of contracting. Plaintiff has
                                                                                    1                                Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.313 Page 6 of 22



                                   1   not met this burden. Application of this section to the matter at hand indicates not only that

                                   2   Plaintiff cannot prevail on a motion for summary judgment, but also that his claims fail as a

                                   3   matter of law. The following is clear:

                                   4          (1)     Civil Code section 1671 was amended effective July 1, 1978 in favor of the

                                   5   California Legislature’s express public policy enforcing liquidated damages provisions. The

                                   6   amended test in Civil Code section 1671(b) places a substantial burden on the party challenging

                                   7   a liquidated damages provision. The former stricter test was not eliminated, but is now set forth

                                   8   in Civil Code section 1671(d). This narrow test only applies to the two specific types of

                                   9   contracts set forth in section 1671(c), which do not apply here. Thus, Plaintiff’s citation and
                                  10   reference to cases decided prior to the 1978 amendment, or to cases applying the test in

                                  11   subdivision (d), is inappropriate and must be stricken. In sum, Plaintiff is relying on the wrong
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                                  12   law.
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                                  13          (2)     Plaintiff is mistaken that the liquidated damages provision here is unreasonable

                                  14   because Symbolic ultimately sold the subject Ferrari at a profit. In determining the

                                  15   reasonableness of a liquidated damages provision, the Court may only consider those

                                  16   circumstances in existence at the time the contract was made (here, July 11, 2007), and not how

                                  17   the provision appears in retrospect. As the court wrote in Weber, Lipshie & Co. v. Christian 52

                                  18   Cal.App.4th 645, 654 (1997), “The amount of damages actually suffered has no bearing on the
                                  19   validity of the liquidated damages provision.”

                                  20          (3)     Plaintiff is also mistaken in his claim that the liquidated damages provision is

                                  21   unreasonable because the parties did not “discuss the issue of the damages [Symbolic] would, or

                                  22   might, incur should Plaintiff fail to timely purchase the Ferrari.” This contention not only

                                  23   ignores several undisputed material facts regarding discussions actually had between the parties,

                                  24   but it also misapplies the law. Indeed, while a liquidated damages figure must approach a

                                  25   “reasonable endeavor” by the parties to estimate losses that might be sustained, this requirement

                                  26   does not mean the parties must expressly negotiate the liquidated damages figure. Rather, where

                                  27   a liquidated damages provision is reasonable in light of the potential actual harm, it is presumed
                                  28   to have resulted from a reasonable endeavor to estimate actual harm, and it is therefore valid.
                                                                                   2                                  Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.314 Page 7 of 22



                                   1   Utility Consumers’ Action Network, Inc. v. AT&T Broadband of Southern Cal., Inc., 135

                                   2   Cal.App.4th 1023, 1035-8 (2006). Here, Defendant stood to lose money, and also its profits, on

                                   3   the subject Ferrari. In a best case scenario, Symbolic would have had to surrender its own

                                   4   $200,000 deposit it paid to acquire the rights to the sell the car to Plaintiff.

                                   5           (4)     Finally, Plaintiff claims that his failure to timely pay the balance of the purchase

                                   6   price is not a material breach of contract because the Contract did not contain an explicit “time of

                                   7   the essence” clause. Again, Plaintiff has misinterpreted the applicable law. Time is of the

                                   8   essence in all contracts where the circumstances indicate that performance on a particular day is

                                   9   important. Henck v. Lake Hemet Water Co. (1937) 9 Cal.2d 136, 143; Rest. 2d Contracts § 242.
                                  10   Here, Symbolic made it repeatedly and abundantly clear to Plaintiff that timing was critical on

                                  11   this deal, and entered the Contract only upon Plaintiff’s agreeing to Symbolic’s specific
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                                  12   timetable. The Contract also specified a date certain by which final payment needed to be made.
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                                  13                            III.    STATEMENT OF DISPUTED FACTS

                                  14           Symbolic has filed its own motion for summary judgment in this matter which sets forth

                                  15   a complete statement of facts along with citations to evidence. Rather than recite these facts,

                                  16   Symbolic incorporates by reference its statement of facts and supporting evidence filed in

                                  17   connection with its motion for summary judgment filed on March 10, 2009. (See Symbolic’s

                                  18   Request for Judicial Notice). The following constitutes a summary of key areas in which
                                  19   Plaintiff’s factual statement is particularly misleading or incomplete. Indeed, the undisputed

                                  20   documentary record show the parties engaged in significant preliminary negotiations and give-

                                  21   and-take prior to executing the final Contract.

                                  22   A.      THE EXTENT OF THE PRELIMINARY NEGOTIATIONS BETWEEN THE

                                  23           PARTIES.

                                  24           Symbolic’s salesman, Elliot Grossman, officially began price negotiations with Plaintiff

                                  25   for the sale of the subject Ferrari only after Symbolic had confirmed its ability to acquire the

                                  26   vehicle by purchasing it from another Symbolic customer. Grossman told Plaintiff that Symbolic

                                  27   had to acquire the subject Ferrari from a third party owner before it could sell it to Plaintiff. At
                                  28   no time did Grossman indicate to Plaintiff that Symbolic was acting as a “broker” in the
                                                                                    3                               Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.315 Page 8 of 22



                                   1   transaction. In fact, the opposite was true. Symbolic had to purchase the Ferrari from its own

                                   2   customer. It is important that Symbolic had to acquire the vehicle from a customer before selling

                                   3   it to Plaintiff, because Symbolic stood to suffer its own significant damages if Plaintiff backed

                                   4   out of the deal.

                                   5           Symbolic had to pay its own $200,000 non-refundable deposit to its customer to purchase

                                   6   the Ferrari. At best, if Plaintiff backed out of the deal, Symbolic would be able to avoid paying

                                   7   its customer the full purchase price, but would lose its $200,000 deposit. At worst, Symbolic’s

                                   8   customer would force Symbolic to complete the deal and pay the $2,785,000 purchase price.

                                   9   Symbolic felt this price was well over the market value for the car and feared that if Plaintiff
                                  10   breached it would have to “wear the car,” and ultimately resell it to a third party at a loss.

                                  11   Further, Symbolic would lose its profit. Symbolic proceeded with the deal in reliance on the fact
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                                  12   that it could fall back on Plaintiff’s deposit if Plaintiff did not complete the deal. Plaintiff had no
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                                  13   contigency rights once he paid his deposit.

                                  14           After Symbolic obtained the rights to acquire the vehicle, Symbolic and Edwards came to

                                  15   terms on the purchase price and amount of deposit. Plaintiff agreed to purchase the subject

                                  16   Ferrari from Symbolic subject to the car passing Plaintiff’s inspection and subject to the specific

                                  17   terms set forth in the contract for purchase and sale (including terms regarding timing of

                                  18   payments; see the section below entitled “Time Was of the Essence...”). The price terms on
                                  19   which the parties settled were a $3,100,000 total purchase price consistitng of a $300,000 non-

                                  20   refundable deposit to secure the deal and the $2,800,000 balance due on August 13, 2007.

                                  21           Plaintiff was well aware that his initial $300,000 deposit was non-refundable, and would

                                  22   be retained by Symbolic as liquidated damages if Plaintiff breached. In fact, it was Plaintiff,

                                  23   with the assistance of his former English solicitor, who drafted the two initial offer letters, a first

                                  24   proposed contract, and the final Contract which contained the liquidated damages provision. In

                                  25   Plaintiff’s initial discussions with Grossman, including a handwritten letter Plaintiff sent to

                                  26   Grossman on July 8, 2007, Plaintiff used the term “non-refundable deposit” to describe the

                                  27   $300,000 payment. In the subsequent typewritten letter Plaintiff sent on the same date, he used
                                  28   the term “non-refundable purchase option.” Then, in both the July 9 initial draft of the Contract,
                                                                                  4                                  Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.316 Page 9 of 22



                                   1   as well as the final executed version of the Contract dated July 11, 2007, Plaintiff used the phrase

                                   2   “liquidated damages” to characterize the $300,000 non-refundable deposit. In all cases, it was

                                   3   clear to everyone involved that Plaintiff would not receive a refund of his deposit in the event of

                                   4   his breach.

                                   5          Finally, and importantly, Plaintiff testified that he thought the $300,000 deposit was

                                   6   reasonable considering it was about 10% of the total purchase price, and because 10% is a

                                   7   customary figure for non-refundable deposits on purchases of expensive vintage vehicles.

                                   8   B.     TIME WAS OF THE ESSENCE IN THE CONTRACT.

                                   9          From the inception of his conversations with Plaintiff, Grossman was explicit that time
                                  10   was of the essence in the transaction. The parties negotiated and changed working days to

                                  11   calendar days. Eventually, they agreed that Plaintiff would pay the non-refundable deposit by
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                                  12   July 18, 2007, and that he had to pay the balance of the purchase price by August 13, 2007.
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                                  13   Grossman had no flexibility with respect to this time deadline, which is evidenced by the fact

                                  14   that Symbolic on numerous occasions rejected Plaintiff’s proposed time deadlines for a later

                                  15   final payment, insisting the August 13, 2007 date was a hard date.

                                  16          Prior to settling on the August 13, 2007 date for final payment, the parties went through

                                  17   negotiations. On July 8, 2007, Plaintiff provided to Symbolic an initial handwritten offer letter

                                  18   in which he wrote that the balance of the purchase price was to be due in “30 working days.”
                                  19   Symbolic unconditionally rejected this term. That same day, Plaintiff sent another offer letter

                                  20   (typewritten) in which this term was changed to “30 calendar days,” a much shorter time period

                                  21   in which Plaintiff had to pay the balance. On July 9, 2007, Plaintiff sent to Symbolic a first draft

                                  22   contract, but the payment deadlines set forth therein were not the terms to which Symbolic had

                                  23   agreed, and Symbolic rejected this draft. Plaintiff then prepared what would become the final

                                  24   Contract for purchase and sale, dated July 11, 2007, which stated explicitly that the balance of

                                  25   the purchase price was due from Plaintiff on or before August 13, 2007.

                                  26   C.     The Parties Disagreed Significantly Over the Value of the Subject Ferrari.

                                  27          Symbolic had concerns regarding the future market value for the subject Ferrari. If
                                  28   market went down, or remained flat, Symbolic would lose significant money if Plaintiff
                                                                                5                                Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.317 Page 10 of 22



                                   1   breached. Symbolic feared that it was significantly overpaying its customer $2,785,000 to

                                   2   acquire the car. It would not have bought the Ferrari from its customer absent the fact the Ferrari

                                   3   was “pre-sold” to Plaintiff. Months earlier, Symbolic turned down an offer to buy the same car

                                   4   for $2.4 million, plus commission, which was considerably less than the $2.785 million price tag.

                                   5   After Plaintiff paid his non-refundable deposit and received Plaintiff’s other assurances that he

                                   6   was a serious buyer, Symbolic agreed to proceed. At the time of the Contract, Symbolic did not

                                   7   know if two other similiar Ferraris would sell at the upcoming Pebble Beach auction six weeks

                                   8   later, or for what price. In fact, Symbolic feared that the value of the subject Ferrari would

                                   9   actually go down if the two similar cars did not sell at this car show, or sold at their reserve
                                  10   prices. When these cars did sell at the show for record prices, the market for the subject Ferrari

                                  11   went up signficantly. Of course, six weeks earlier this was not known.
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                                  12                                     IV.     LEGAL ARGUMENT
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                                  13   A.     PLAINTIFF’S CLAIMS FOR RELIEF RELY ON THE ERRONEOUS

                                  14          CONTENTION THAT THE LIQUIDATED DAMAGES PROVISION IS

                                  15          UNENFORCEABLE.

                                  16          Plaintiff alleges two claims for relief in this lawsuit: (1) Rescission and Restitution; and

                                  17   (2) Unjust Enrichment. Both claims for relief rely entirely on Plaintiff’s contention that the

                                  18   liquidated damages provision is unenforceable under Civil Code section 1671. Because Plaintiff
                                  19   cannot show that the liquidated damage provision was unreasonable, he cannot establish either

                                  20   claim for relief and this motion for summary judgment must be denied.

                                  21          In his motion, Plaintiff questions the validity of the liquidated damages provision under

                                  22   Civil Code section 1671, and goes on to state: “Upon a finding that the ‘liquidated damages’

                                  23   provision does not comply with [1671], the court can, and should, award plaintiff restitution of

                                  24   his deposit.” Plaintiff’s Motion, p. 12:21-23, citing Cal. Comm. § 2718(2). Indeed, Commercial

                                  25   Code section 2718 provides that “remedy may be had as provided in this division” (restitution) if

                                  26   a liquidated damages provision “does not comply with Section 1671 of the Civil Code.” Thus,

                                  27   unless Plaintiff can establish as a matter of law that the liquidated damages provision was
                                  28   unreasonable at the time of contracting, he is not entitled to restitution under this theory.
                                                                                     6                                   Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.318 Page 11 of 22



                                   1          In his motion, Plaintiff later states: “Unjust enrichment requires restitution if, under the

                                   2   circumstances, it would be unjust for a party to retain the benefit that it received from another.”

                                   3   Plaintiff does not provide any further discussion on the issue of unjust enrichment, making it

                                   4   clear that this claim also relies on the contention that the liquidated damages provision is

                                   5   unenforceable. However, unjust enrichment is typically a matter of quasi-contract, and an action

                                   6   for unjust enrichment does not lie, as a matter of law, where an express binding agreement exists

                                   7   and defines the parties’ rights. California Medical Ass’n, Inc. v. Aetna U.S. Healthcare of Calif.

                                   8   94 Cal.App.4th 151, 172 (2001); see also Marina Tenants Assn. v. Deauville Marina Dev. Co.,

                                   9   181 Cal.App.3d 122, 134 (1986). Accordingly, Plaintiff is not entitled to restitution on a theory
                                  10   of unjust enrichment. Any restitution claim, therefore, must rely on an analysis of Civil Code

                                  11   section 1671.
4675 MacArthur Court, Suite 800




                                  12          As set forth below, Plaintiff cannot show that the liquidated damages provision in
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                                  13   question is unenforceable under Civil Code section 1671, and he is therefore not entitled to

                                  14   summary judgment. Moreover, an application of section 1671 indicates that Plaintiff cannot

                                  15   establish his claims, and therefore the Court should grant Symbolic’s separate pending motion

                                  16   for summary judgment and dismiss Plaintiff’s lawsuit.

                                  17   B.     PLAINTIFF MISINTERPRETS AND MISAPPLIES CIVIL CODE 1671, AND

                                  18          CITES INAPPLICABLE AUTHORITY.
                                  19          Plaintiff’s motion is not well-taken considering he applies the wrong test for the validity

                                  20   of liquidated damages, and cites to cases that are inapplicable to the matter at hand. California

                                  21   Civil Code section 1671 was amended in 1978 in favor of a policy enforcing liquidated damages

                                  22   provisions in contracts. Plaintiff’s citations to older cases refers to a statute that has been

                                  23   superseded. The former section 1671 provided: “The parties to a contract may agree therein

                                  24   upon an amount which shall be presumed to be the amount of damage sustained by a breach

                                  25   thereof, when, from the nature of the case, it would be impracticable or extremely difficult to fix

                                  26   the actual damage.” See Silva & Hill Const. Co v. Employers’ Mutual Liability Ins. Co. 19

                                  27   Cal.App.3d 914, 919 fn. 2 (1971).
                                  28          In enacting the 1978 amendment, the Legislature intended to alter this test to effectuate
                                                                                 7                                  Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.319 Page 12 of 22



                                   1   more widespread judicial enforcement of liquidated damages provisions. See Law Revision

                                   2   Commission Comments to Cal Civ. § 1671, 1977 Amendment (effective July 1978). The current

                                   3   test, which applies to the majority of commercial contracts, including that between Plaintiff and

                                   4   Symbolic, can be found in Civil Code section 1671, subsection (b), which provides: “a provision

                                   5   in a contract liquidating the damages for the breach of the contract is valid unless the party

                                   6   seeking to invalidate the provision establishes that the provision was unreasonable under the

                                   7   circumstances existing at the time the contract was made.” The new test places a significant

                                   8   burden on the party challenging a liquidated damages provision, and eliminates the requirement

                                   9   to show that fixing actual damages was impracticable or extremely difficult.
                                  10          The Legislature did not entirely do away with the stricter test of the former section 1671.

                                  11   In the amended statute, subsection (d) sets forth the former test, but the statute expressly
4675 MacArthur Court, Suite 800




                                  12   provides that this test shall apply only in two specific types of consumer contracts enumerated
   Newport Beach, CA 92660
      Gordon & Rees LLP




                                  13   in subsection (c): (1) contracts for the sale or rental of personal property to be used primarily for

                                  14   the buyer’s personal, family, or household purposes; and (2) contracts for the lease of real

                                  15   property. Here, Plaintiff admits he is a car dealer and purchased the subject Ferrari only for

                                  16   commercial purposes in order to resell it for a profit. Therefore, the subsection (d) test is not

                                  17   applicable, and subsection (b) controls.

                                  18          Plaintiff’s application of the former test for validity of liquidated damages is
                                  19   inappropriate. Moreover, his extensive citations and references to cases applying the former test

                                  20   (whether those decided prior to the 1978 amendment, or those involving a consumer case under

                                  21   the current subsection (d)), are inappropriate and must be disregarded.

                                  22          1.      Plaintiff’s Cited Cases Decided Prior to the 1978 Amendment of Civil Code

                                  23                  Section 1671, as Well as “Consumer Cases” Decided Under the Amended

                                  24                  Statute But Applying Subsection (d), Are Inapplicable.

                                  25          Each of the following cases cited by Plaintiff were decided prior to the 1978 amendment

                                  26   of Civil Code section 1671, and are therefore patently inapplicable to a determination of whether

                                  27   the liquidated damages provision in this case is valid: Silva & Hill const. Co v. Employers’
                                  28   Mutual Liability Ins. Co. 19 Cal.App.3d 914 (1971); Feary v. Aaron Burglar Alarm, Inc. 32
                                                                                  8                               Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.320 Page 13 of 22



                                   1   Cal.App.3d 553 (1973); United Sav. and Loan Ass’n of Calif. v. Reeder Development Corp. 57

                                   2   Cal.App.3d 282 (1976).

                                   3           Plaintiff also relies heavily on Utility Consumers’ Action Network, Inc. v. AT&T

                                   4   Broadband of Southern Cal., Inc., 135 Cal.App.4th 1023, 1035-8 (2006) (“Utility Consumers”).

                                   5   However, this case explicitly applies the test of Civil Code section 1671, subsection (d), in the

                                   6   context of a consumer contract. As already discussed, this test is inapplicable here. Other cases

                                   7   cited by Plaintiff in which the subsection (d) test is applied are: Irwin v. Mascott 96 F.Supp.2d

                                   8   968 (N.D. Cal. 1999); Donald v. Golden 1 Credit Union 839 F.Supp. 1394 (E.D. Cal. 1993).

                                   9   C.      A PROPER READING AND APPLICATION OF CIVIL CODE §1671
                                  10           INDICATES THAT PLAINTIFF CANNOT ESTABLISH THAT THE

                                  11           LIQUIDATED DAMAGES PROVISION WAS UNREASONABLE AT THE TIME
4675 MacArthur Court, Suite 800




                                  12           OF THE CONTRACT.
   Newport Beach, CA 92660
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                                  13           1.      Plaintiff Cannot Show That There Was “No Reasonable Relationship”

                                  14                   Between the Liquidated Damages Figure and the Actual Damages the Parties

                                  15                   Could Have Anticipated Would Flow From Breach.

                                  16           The California Supreme Court has held that a liquidated damages clause will be

                                  17   considered unreasonable under Civil Code section 1671(b) and therefore unenforceable “if it

                                  18   bears no reasonable relationship to the range of actual damages that the parties could have
                                  19   anticipated would flow from a breach.” Ridgley v. Topa Thrift and Loan Ass’n 17 Cal.4th 970,

                                  20   977 (1998). With respect to this requirement, Plaintiff argues that because he agreed to purchase

                                  21   the subject Ferrari in a “rising market,” Symbolic actually stood to suffer no damages if Plaintiff

                                  22   breached, rendering the $300,000 figure unreasonable.

                                  23           Plaintiff’s argument that a buyer in a “rising market” can simply back out of a contract

                                  24   with no penalty because the seller can then sell to a third party, presumably for more than the

                                  25   price in the original contract, is illogical. First, this approach ignores the fact that the seller

                                  26   suffers harm as a result of the breach regardless of whether the seller can sell to a third party

                                  27   thereafter. Indeed, here Symbolic stood to incur significant carrying costs, reconditioning costs,
                                  28   and interest until it sold the car, and also stood to have to expend additional money and resources
                                                                                       9                                Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.321 Page 14 of 22



                                   1   in order to negotiate the subsequent sale with a third party. More significantly, in July 2007, the

                                   2   economic bubble in America was ready to burst. In vintage cars, this issue in July 2007 was a

                                   3   clear and present danger. Symbolic knew the market could turn before or after the Pebble Beach

                                   4   auction ON August 17-19, 2007. What Symbolic could not predict was whether that turn would

                                   5   be up or down. A down turn, or even a flat market, assured Symbolic of a certain loss on this

                                   6   Ferrari.

                                   7              Next, Symbolic disputes the fact that there was a rising market for the subject Ferrari at

                                   8   the time of the Contract. Symbolic feared that it was significantly overpaying its customer for

                                   9   the car, and agreed to do so only upon receiving Plaintiff’s $300,000 non-refundable deposit and
                                  10   assurances that he was a serious buyer. But for Plaintiff’s non-refundable deposit, Symbolic

                                  11   never would have purchased the Ferrari. At the time of the Contract, Symbolic feared that the
4675 MacArthur Court, Suite 800




                                  12   value of the subject Ferrari could actually go down, or at best remain flat, depending on the
   Newport Beach, CA 92660
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                                  13   results of the Concours d’Elegance auctions coming up six weeks later in late August 2007. At

                                  14   the time of this Contract, Plaintiff was an optimist, betting on a market uptick. If Plaintiff

                                  15   gambled wrong, and the market went down, Plaintiff could “walk” from this deal for a 10% loss.

                                  16   If the market went down, and he let Symbolic retain the car, Symbolic faced (1) loss of its

                                  17   $300,000 profit (10%) if it could find a buyer to pay what it paid for the car, or (2) losses for

                                  18   even more if it sold the car for less than the $2,785,000 it had to pay.
                                  19              In the course of their negotiations, Grossman made it clear to Plaintiff that Symbolic

                                  20   would to suffer six figure damages if Plaintiff did not complete the deal. This referred to the

                                  21   fact Symbolic stood to lose its own $200,000 non-refundable deposit that it had committed to its

                                  22   customer to purchase the Ferrari in the first place. Further, Symbolic risked that the customer

                                  23   would force Symbolic to complete the sale and pay the balance of the $2,785,000 purchase price.

                                  24   Symbolic felt this figure was over the retail value for the vehicle, and feared it would have to

                                  25   ultimately resell the car to a third party at a loss if Plaintiff breached. Symbolic only proceeded

                                  26   with the deal in reliance on the fact that it could fall back on Plaintiff’s deposit as a loss cushion

                                  27   if Plaintiff did not complete the deal.
                                  28              There are numerous factors indicating that the $300,000 liquidated damages figure was
                                                                                      10                               Case No. 07CV1826-JMA
                                                   SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                                  OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.322 Page 15 of 22



                                   1   reasonable in light of the circumstances existing and known to the parties at the time the Contract

                                   2   was entered. There are no factors to the contrary. See Hong v. Somerset Associates, 161

                                   3   Cal.App.3d 111, 115 (1984) [liquidated damages figure was reasonable where the buyers were

                                   4   sophisticated purchasers and the seller would sustain damages on account of the buyer’s

                                   5   breach]1. Plaintiff is mistaken in claiming otherwise, and as set forth below, the authority he

                                   6   cites in support of his claim is inapplicable.

                                   7           2.       The “Reasonable Endeavor” Requirement Does Not Require Actual, Explicit

                                   8                    Negotiations Over the Amount of the Liquidated Damages Figure.

                                   9           Some courts have discussed whether a liquidated damages figure is the “result of a
                                  10   reasonable endeavor by the parties to estimate fair compensation for the expected loss.” In re

                                  11   VEC Farms, LLC 395 B.R. 674, 685 (Bkrtcy. N.D. Cal. 2008); Utility Consumers, 135
4675 MacArthur Court, Suite 800




                                  12   Cal.App.4th at 1035-8. However, this “reasonable endeavor” evaluation applies within the
   Newport Beach, CA 92660
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                                  13   consumer context. In re VEC Farms, LLC 395 B.R. at 691 [noting that the Utility Consumers

                                  14   case was a “consumer case” decided under Civil Code section 1671(d)]. Even if this factor were

                                  15   to apply to commercial contracts like that between Symbolic and Plaintiff, the test does not

                                  16   require proof of actual subjective negotiation of the amount of liquidated damages. Id.; see also

                                  17   Utility Consumers, 135 Cal.App.4th at 1035-8. Rather, the reasonableness of the liquidated

                                  18   damages figure in light of the potential actual harm conclusively determines whether a
                                  19   reasonable endeavor to estimate fair compensation was made despite the fact that no actual

                                  20   negotiations took place regarding the liquidated damages figure. Id. In other words, Plaintiff is

                                  21   incorrect in asserting the liquidated amount must be fixed by actual back and forth negotiations.

                                  22           Plaintiff claims that the liquidated damages provision here is necessarily unreasonable

                                  23   because the parties did not “discuss the issue of the damages [Symbolic] would, or might, incur

                                  24   1
                                        The Law Revision Commission has proposed the following factors to determine the reasonableness of a liquidated
                                       damages provision (Law Revision Commission Comments to Cal Civ. § 1671, 1977 Amendment):
                                  25           1. The relationship the damages provided in the contract bear to the range of harm that reasonable could
                                                   be anticipated at the time of the making of the contract;
                                  26           2. The relative equality of the bargaining power of the parties;
                                               3. Whether the parties were represented by lawyers at the time the contract was made;
                                  27           4. The anticipation of the parties that proof of actual damages would be costly or inconvenient;
                                               5. The difficulty of proving causation and foreseeability; and
                                  28           6. Whether the liquidated damages provision is included in a form contract.
                                                                                         11                                     Case No. 07CV1826-JMA
                                                 SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                                OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.323 Page 16 of 22



                                   1   should Plaintiff fail to timely purchase the Ferrari.” This contention not only ignores several

                                   2   material facts regarding discussions actually had between the parties, but it also misapplies the

                                   3   law. Indeed, where a liquidated damages figure must represent a “reasonable endeavor” by the

                                   4   parties to estimate losses that might be sustained, this requirement does not mean the parties

                                   5   must expressly negotiate the liquidated damages figure. Rather, where a liquidated damages

                                   6   provision is reasonable in light of the potential actual harm, it must necessarily be presumed to

                                   7   have resulted from a reasonable endeavor to estimate the actual harm, and is therefore valid. In

                                   8   re VEC Farms, LLC 395 B.R. at 691; Utility Consumers, 135 Cal.App.4th at 1035-8.

                                   9           Finally, here Plaintiff himself, with the help of his longtime English solicitor and current
                                  10   employee Bill Ranson, drafted the terms of his own Contract including the $300,000 liquidated

                                  11   damages provision. For Plaintiff to now claim that figure is unreasonable because the parties did
4675 MacArthur Court, Suite 800




                                  12   not specifically negotiate it is, at best, unfounded.
   Newport Beach, CA 92660
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                                  13           3.      Only Circumstances in Existence at the Time of Contracting Should Be

                                  14                   Considered in Assessing Reasonableness of a Liquidated Damages Provision.

                                  15           In determining the reasonableness of a liquidated damages provision, the Court should

                                  16   consider only those circumstances in existence at the time the contract was made, and not how

                                  17   the provision appears in retrospect. Weber, Lipshie & Co. v. Christian 52 Cal.App.4th 645, 654

                                  18   (1997). Plaintiff claims that the liquidated damages provision is unreasonable here because
                                  19   Symbolic “suffered no damages at all but instead received a windfall profit.” Again, Plaintiff

                                  20   misapplies the applicable law, and misinterprets the purpose of a liquidated damages provision.

                                  21   In Weber, the court clearly wrote: “The amount of damages actually suffered has no bearing on

                                  22   the validity of the liquidated damages provision.” After events, such as what occurred here, are

                                  23   irrelevant. The Contract must be tested as of when it was made.

                                  24           Under Weber, and according to the Law Revision Commission Comments to the 1978

                                  25   Amendment to Civil Code section 1671, the fact that Symbolic ultimately sold the vehicle to a

                                  26   third party at a higher price than it had contracted to sell it to Plaintiff is totally and completely

                                  27   irrelevant. At the time of the contract, Symbolic could not have known that the market for the
                                  28   subject Ferrari would rise unexpectedly as it did following the Concours d’Elegance auto
                                                                               12                            Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.324 Page 17 of 22



                                   1   auctions, and could not have anticipated that it would have been able to sell the car to a third

                                   2   party for even the same amount as in the Contract with Plaintiff, let alone for more. Symbolic

                                   3   feared that the market would drop or at best remain flat. Indeed, had the two other cars not sold,

                                   4   Symbolic would have lost more than just its $300,000 profit. In either event, Symbolic could

                                   5   have just as easily suffered losses. The fact that the market actually went up was simply

                                   6   fortuitous, and not relevant to an analysis of liquidated damages validity under Civil Code

                                   7   section 1671(b). Accordingly, Symbolic was justified in retaining the Plaintiff’s deposit as

                                   8   liquidated damages.

                                   9          4.      Time Was of the Essence in the Contract.
                                  10          Plaintiff also claims that his failure to timely pay the balance of the purchase price is not

                                  11   a material breach because the Contract did not contain an explicit “time of the essence” clause.
4675 MacArthur Court, Suite 800




                                  12   Again, Plaintiff has misinterpreted the applicable law. Indeed, time is of the essence in any
   Newport Beach, CA 92660
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                                  13   contract where it appears from the terms of the contract, in light of all the circumstances, that

                                  14   such was the intention of the parties. Henck v. Lake Hemet Water Co. (1937) 9 Cal.2d 136, 143;

                                  15   Rest. 2d Contracts § 242. Thus, a contract need not contain an express “time of the essence”

                                  16   clause if it appears from the language in the contract and the attendant circumstances that time

                                  17   was of the essence. Id. Here, Plaintiff’s contract was a simple one page affair.

                                  18          At all times, Symbolic made it abundantly clear to Plaintiff that timing was critical on
                                  19   this deal. One offer letter, and one proposed contract were rejected because Plaintiff was

                                  20   requesting time beyond August 13, 2007. Plaintiff admits he knew that Symbolic was insistent

                                  21   on this date. He felt he could meet the deadline.. Symbolic entered the Contract only upon

                                  22   Plaintiff’s agreeing to Symbolic’s timetable. The Contract also specified a date certain by which

                                  23   final payment needed to be made, August 13, 2007. That date was always firm. From the

                                  24   inception of his conversations with Plaintiff, Grossman was explicit in telling Edwards that time

                                  25   was of the essence in the transaction and that Grossman had no flexibility with respect to the

                                  26   August 13, 2007 deadline for final payment because this was the date by which Symbolic had to

                                  27   pay its customer to acquire the vehicle. The lack of flexibility Symbolic had regarding this
                                  28   timeline is evidenced by the fact that, on numerous occasions, Symbolic rejected Plaintiff’s
                                                                                    13                              Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.325 Page 18 of 22



                                   1   proposed time deadlines for the final payment, insisting on the August 13, 2007 date.

                                   2          Prior to settling on the August 13, 2007 date for final payment, the parties went through

                                   3   negotiations regarding timing. On July 8, 2007, Plaintiff provided an initial handwritten offer

                                   4   letter in which he wrote that the balance of the purchase price was to be due in “30 working

                                   5   days.” Symbolic unconditionally rejected this term. That same day, Plaintiff sent another offer

                                   6   letter (typewritten) in which this term was changed to “30 calendar days,” a much shorter time

                                   7   period in which Plaintiff had to pay the balance. Symbolic agreed to these terms. On July 9,

                                   8   2007, Plaintiff sent a first draft contract, but the payment terms set forth therein were not the

                                   9   terms to which Symbolic had agreed. Symbolic rejected this draft. Plaintiff then prepared what
                                  10   would become the final contract for purchase and sale, dated July 11, 2007, which stated

                                  11   explicitly that the balance of the purchase price was due from Plaintiff on or before the date
4675 MacArthur Court, Suite 800




                                  12   certain of August 13, 2007.
   Newport Beach, CA 92660
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                                  13   D.     THE BALANCE OF THE CASES CITED BY PLAINTIFF, THOUGH APPLYING

                                  14          THE CORRECT TEST, ARE OTHERWISE DISTINGUISHABLE OR SUPPORT

                                  15          SYMBOLIC’S CONTENTION THAT THE LIQUIDATED DAMAGES

                                  16          PROVISION WAS REASONABLE.

                                  17          Plaintiff provides a number of citations to cases which purportedly support his claim that

                                  18   the liquidated damage provision in question was unreasonable under Civil Code section 1671,
                                  19   subsection (b). However, each of these cases is either distinguishable on its facts, or actually

                                  20   support Symbolic’s position that the liquidated damages figure in question was reasonable and

                                  21   enforceable.

                                  22          To begin, Poseidon Development, Inc. v. Woodland Lane Estates, LLC 152 Cal.App.4th

                                  23   1106, 1113-14 (2007), is distinguishable on its facts because it does not involve a contract for

                                  24   purchase and sale, and because the court’s holding depends on contractual interpretation more

                                  25   than an analysis of Civil Code section 1671. The court held that a late-charge for non-payment

                                  26   of the final balloon payment on a promissory note was an unenforceable penalty because, based

                                  27   on the contractual language, the late-charge was only intended to be applied to late installment
                                  28   payments rather than the final balloon payment. Id. This was a matter of contractual
                                                                                  14                               Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.326 Page 19 of 22



                                   1   interpretation wherein the court determined that the late fee of $77,614.67 when applied to the

                                   2   final balloon payment was outside the scope of the parties’ intentions and far exceeded any

                                   3   potential administrative costs that would result from the late payment, while the fee of $614.67

                                   4   for a late installment payment was reasonable and within the parties intent.

                                   5           Likewise, Morris v. Redwood Empire Bancorp 128 Cal.App.4th 1305, 1313 (2005) and

                                   6   Allen v. Smith 94 Cal.App.4th 1270 (2002) are inapplicable. In Morris, the court did not even

                                   7   apply Civil Code section 1671, but rather held that the contract provision in question was not

                                   8   even a liquidated damages provision. In Allen, the court applied Civil Code section 1675, which

                                   9   is only applicable to the purchase and sale of residential property.
                                  10           Next, Plaintiff relies heavily on Greentree Financial Group, Inc. v. Execute Sports, Inc.

                                  11   163 Cal.App.4th 495 (2008) (“Greentree”), which is also clearly distinguishable on its facts from
4675 MacArthur Court, Suite 800




                                  12   the matter at hand. In Greentree, the parties entered into an agreement to settle a civil breach of
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                                  13   contract claim the plaintiff had brought against the defendant. Id. at 498. The parties settled for

                                  14   $20,000 to be provided in two installments of $15,000 and $5,000. Id. The settlement

                                  15   agreement provided that if the defendant defaulted on either payment, plaintiff would be entitled

                                  16   to the entire amount originally demanded in the lawsuit ($45,000) plus interest and costs. Id.

                                  17   When the defendant defaulted, the court entered judgment for plaintiff in the amount of

                                  18   $61,232.50. Id.
                                  19           The Greentree court held that this amounted to an unreasonable penalty because it was

                                  20   excessive in light of the $20,000 settlement figure. Id. at 499. The court wrote that “the

                                  21   $61,232.50 amount in the judgment bears no reasonable relationship to the range of actual

                                  22   damages the parties could have anticipated from a breach of the stipulation to settle the dispute

                                  23   for $20,000.” Id. at 500. Rather, the judgment was more than triple the amount for which the

                                  24   parties agreed to settle the case. Id.

                                  25           Applying this reasoning here, it is clear that Greentree does not control. Here, the

                                  26   parties’ Contract for purchase and sale of the subject Ferrari provided for a $3,100,000 total

                                  27   purchase price. Applying Greentree, an unreasonable liquidated damages figure would be in the
                                  28   neighborhood of $9,300,000 (triple the sale price). Symbolic agrees that such a figure is
                                                                                   15                               Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.327 Page 20 of 22



                                   1   unreasonable, and would clearly constitute a penalty for failed performance. However, here the

                                   2   liquidated damages figure of $300,000 was less than 10% of the purchase price, and as already

                                   3   discussed, represented a reasonable estimate of potential harm Symbolic might have suffered

                                   4   from Plaintiff’s breach. Therefore, Greentree does not control. See also ECM Converting Co. v.

                                   5   Corrigated Supplies Co. LLC, 2009 U.S. Dist. Lexis 12424 [following Greentree, but outside the

                                   6   context of a liquidated damages provision, and not applying Civil Code section 1671].

                                   7          Like Greentree, the case of Sybron Corp. v. Clark Hosp. Supply Corp. (1978) 76

                                   8   Cal.App.3d 896, 900 (“Sybron”) involves a settlement agreement with what the court held to be

                                   9   an unreasonable default provision. First, Sybron was decided before the 1978 amendment of
                                  10   Civil Code section 1671 took effect on July 1, 1978, and therefore does not apply to the extent it

                                  11   applies the test found in the current section 1671’s subsection (d). However, Greentree notes
4675 MacArthur Court, Suite 800




                                  12   that Sybron is still good law to the extent it holds that judgments imposing a penalty for
   Newport Beach, CA 92660
      Gordon & Rees LLP




                                  13   defaulting on payments in a settlement agreement are inappropriate where the amount of

                                  14   judgment bears no proportional relationship to the original settlement amount. Greentree, 163

                                  15   Cal.App.4th at 498.

                                  16          In Sybron, plaintiff sued defendant for breach of contract seeking a sum certain, and

                                  17   ultimately the parties settled for $72,000. Sybron, 76 Cal.App.3d at 903. Upon defendant’s

                                  18   default under the settlement agreement, the court entered judgment for $100,000 pursuant to the
                                  19   parties liquidated damages provision. Like Greentree, the court held that this was excessive in

                                  20   light of the $72,000 settlement figure. For the same reasons as Greentree, Sybron is inapplicable

                                  21   to the matter here.

                                  22          Finally, Radisson Hotels Intern., Inc. v. Majestic Towers, Inc. 488 F.Supp.2d 953 (C.D.

                                  23   Cal. 2007), supports Symbolic’s position that the liquidated damages provision was reasonable.

                                  24   The court writes that the standard in Civil Code section 1671 subsection (b) “permits a

                                  25   considerable degree of latitude in fixing the sum of liquidated damages…” Id. at 959. The court

                                  26   ultimately held that a liquidated damages clause in a licensing agreement which provided for

                                  27   damages for termination of the agreement at twice the preceding year’s royalty fees was
                                  28   reasonable and enforceable.
                                                                                   16                                 Case No. 07CV1826-JMA
                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.328 Page 21 of 22



                                   1          In sum, none of the cases cited by Plaintiff support his proposition that the liquidated

                                   2   damages figure in the Contract. The cases in which courts did not enforce liquidated damages

                                   3   provisions involved grossly excessive figures which obviously bore no relation to the anticipated

                                   4   harm. Here, on the other hand, the liquidated damages figure was less than 10% of the total

                                   5   purchase price, and was related to expected harm Symbolic stood to suffer if Plaintiff breached.

                                   6   Further, Plaintiff himself testified that such an amount is reasonable in the industry, and

                                   7   customary on the sale of such an expensive car.

                                   8                                        V.      CONCLUSION

                                   9          For all of the foregoing reasons, Plaintiff’s motion for summary judgment should be
                                  10   DENIED in its entirety.

                                  11
4675 MacArthur Court, Suite 800




                                       DATED: March 27, 2009                                 GORDON & REES LLP
                                  12
   Newport Beach, CA 92660
      Gordon & Rees LLP




                                  13                                                 By:     /s/ Jeffrey A. Swedo
                                                                                             JEFFREY A. SWEDO
                                  14                                                         Attorneys for Defendant SYMBOLIC
                                                                                             INTERNATIONAL, INC.
                                  15                                                         Email: jswedo@gordonrees.com
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                                                SYMBOLIC INTERNATIONAL, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                               OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                                  Case 3:07-cv-01826-JMA Document 37 Filed 03/27/09 PageID.329 Page 22 of 22



                                   1                                    CERTIFICATE OF SERVICE

                                   2           I hereby certify that on March 27, 2009, a copy of the foregoing document was filed
                                       electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
                                   3   system to all parties indicated on the electronic filing receipt. All other parties will be served by
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                                   4

                                   5   James W. Harris, Esq.                           Attorney for Plaintiff Richard Edwards,
                                       Attorney at Law                                 dba Eurotrading
                                   6   3334 E. Pacific Coast Highway
                                       Suite 402                                       Ph:     (949) 723-4339
                                   7   Corona Del Mar, CA 92625                        Fx:     (949) 723-0455
                                       Email: jwhesqmaddog@sbcglobal.net
                                   8

                                   9
                                                                                              /s/Jeffrey A. Swedo
                                  10                                                          JEFFREY A. SWEDO
                                  11
4675 MacArthur Court, Suite 800




                                  12
   Newport Beach, CA 92660
      Gordon & Rees LLP




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